                                                                                                                                                   05/13/2019 02:30:15am
            Case 19-42266                  Doc 15           Filed 05/13/19 Entered 05/13/19 02:40:18                                         Main Document
                                                                          Pg 1 of 38
 Fill in this information to identify your case and this filing:
 Debtor 1               Mark                                              Vogel
                        First Name               Middle Name              Last Name

 Debtor 2            Nina                                                 Vogel
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number            19-42266
 (if known)                                                                                                                       Check if this is an
                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                    What is the property?                               Do not deduct secured claims or exemptions. Put the
9743 Mansfield                                          Check all that apply.                               amount of any secured claims on Schedule D:
                                                                                                            Creditors Who Have Claims Secured by Property.
                                                            Single-family home
9743 Mansfield Residence                                    Duplex or multi-unit building                  Current value of the              Current value of the
                                                                                                            entire property?                  portion you own?
                                                            Condominium or cooperative

Saint Louis county                                          Manufactured or mobile home                                $750,000.00                   $750,000.00
County                                                      Land
                                                            Investment property                            Describe the nature of your ownership
                                                                                                            interest (such as fee simple, tenancy by the
                                                            Timeshare
                                                                                                            entireties, or a life estate), if known.
                                                            Other 9743 Mansfield Residence

                                                        Who has an interest in the property?
                                                                                                            Mortgage
                                                        Check one.

                                                            Debtor 1 only                                      Check if this is community property
                                                                                                                 (see instructions)
                                                            Debtor 2 only
                                                            Debtor 1 and Debtor 2 only
                                                            At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                       
       entries for pages you have attached for Part 1. Write that number here.............................................................            $750,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 1
                                                                                                                                                 05/13/2019 02:30:15am
           Case 19-42266                 Doc 15           Filed 05/13/19 Entered 05/13/19 02:40:18                                         Main Document
Debtor 1         Mark Vogel                                             Pg 2 of 38
Debtor 2         Nina Vogel                                                                         Case number (if known)         19-42266

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

4.1.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                                                 Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                                                    Debtor 1 only

Year:                      1962                           Debtor 2 only                           Current value of the                     Current value of the
                                                                                                   entire property?                         portion you own?
Other information:
                                                          Debtor 1 and Debtor 2 only
                                                          At least one of the debtors and another                $400.00                                $400.00
1962 speedboat and trailer (untitled)
                                                          Check if this is community property
                                                           (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                     
     entries for pages you have attached for Part 2. Write that number here.............................................................                 $400.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe............
                               miscellaneous household goods and furnishings                                                                           $3,300.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe............

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe............
                               miscellaneous dvds, cds, books, etc                                                                                       $245.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe............
                               clothing and apparal for family of 5                                                                                      $450.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe............
                               See continuation page(s).                                                                                               $1,950.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
                                                                                                                                                                                               05/13/2019 02:30:15am
             Case 19-42266                           Doc 15                Filed 05/13/19 Entered 05/13/19 02:40:18                                                                 Main Document
Debtor 1          Mark Vogel                                                             Pg 3 of 38
Debtor 2          Nina Vogel                                                                                                        Case number (if known)                   19-42266

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

           No
           Yes. Describe............
                                3 dogs                                                                                                                                                                          $0.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

           No
           Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                       
    attached for Part 3. Write the number here.......................................................................................................................                                   $5,945.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

           No
                                                                                                                                                                                                                  $245.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                  Institution name:

             17.1.       Checking account:                     Checking account with Bremen Bank                                                                                                                $1.00
             17.2.       Checking account:                     Checking account with Midland State bank                                                                                                     $125.00
             17.3.       Checking account:                     Checking account (business account) with Midland States Bank                                                                                 $850.00
             17.4.       Checking account:                     checking account with Bank of America                                                                                                        $100.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

           No
           Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                          % of ownership:

                                                100% ownership interest in the S Corp Vogel
                                                Construction (No assets in the corporation, about $10,
                                                000 in liabilities)                                                                                             100%                                            $0.00
                                                100% ownership in vogel Properties, LLC - This LLC is
                                                nto active and has no assets                                                                                    100%                                            $0.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 3
                                                                                                                                            05/13/2019 02:30:15am
            Case 19-42266                         Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                           Main Document
Debtor 1         Mark Vogel                                                    Pg 4 of 38
Debtor 2         Nina Vogel                                                                        Case number (if known)     19-42266

                                               CHSATA, LLC - 1 bobcat(does not run), owns 900
                                               Purdue 4 unit,worth approximately $300,000 lien on
                                               property for $310,000. Also owns a 1968 mgb worth
                                               $3,000 and a 1998 Honda worth $500, checking
                                               accoutn at Midland Bank with approxiamtely $500
                                               balance on the day of filing                                          100%                         $4,000.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.             Type of account:         Institution name:
                                           Pension plan:            Carpenters Union Pension                                                      Unknown
                                           Pension plan:            Teachers Pension                                                              Unknown
                                           IRA:                     Roth IRA                                                                         $0.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 4
                                                                                                                                                                         05/13/2019 02:30:15am
             Case 19-42266                       Doc 15              Filed 05/13/19 Entered 05/13/19 02:40:18                                                  Main Document
Debtor 1         Mark Vogel                                                        Pg 5 of 38
Debtor 2         Nina Vogel                                                                                          Case number (if known)             19-42266

Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                                            Federal:
            about them, including whether
            you already filed the returns                                                                                                             State:
            and the tax years.....................................
                                                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

           No
           Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:

                                                   Term Life insurance through
                                                   employer Spec. School Dist)                                  Family                                                            $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                       
    attached for Part 4. Write that number here.......................................................................................................................        $5,321.00



Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 5
                                                                                                                                                                         05/13/2019 02:30:15am
             Case 19-42266                      Doc 15             Filed 05/13/19 Entered 05/13/19 02:40:18                                                   Main Document
Debtor 1         Mark Vogel                                                      Pg 6 of 38
Debtor 2         Nina Vogel                                                                                          Case number (if known)             19-42266


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

           No
           Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe................
                              hand tools used in Marks carpentry and construction work                                                                                        $1,850.00

41. Inventory

           No
           Yes. Describe................

42. Interests in partnerships or joint ventures

           No
           Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  No
                  Yes. Describe..............
44. Any business-related property you did not already list

           No
           Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                       
    attached for Part 5. Write that number here.......................................................................................................................        $1,850.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 6
                                                                                                                                                                         05/13/2019 02:30:15am
             Case 19-42266                          Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                                                   Main Document
Debtor 1          Mark Vogel                                                     Pg 7 of 38
Debtor 2          Nina Vogel                                                                                         Case number (if known)             19-42266

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

           No
           Yes............................

48. Crops--either growing or harvested

           No
           Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           No
           Yes..............................
                     chicken coop                                                                                                                                                 $0.00

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

           No
           Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                       
    attached for Part 6. Write that number here.......................................................................................................................            $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
           Yes. Give specific information.


                                                                                                                                 
54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                              $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 7
                                                                                                                                                                                      05/13/2019 02:30:15am
              Case 19-42266                         Doc 15              Filed 05/13/19 Entered 05/13/19 02:40:18                                                          Main Document
Debtor 1           Mark Vogel                                                         Pg 8 of 38
Debtor 2           Nina Vogel                                                                                                 Case number (if known)                19-42266


  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                    
55. Part 1: Total real estate, line 2..............................................................................................................................................     $750,000.00

56. Part 2: Total vehicles, line 5                                                                                       $400.00

57. Part 3: Total personal and household items, line 15                                                               $5,945.00

58. Part 4: Total financial assets, line 36                                                                           $5,321.00

59. Part 5: Total business-related property, line 45                                                                  $1,850.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $13,516.00              property total                +              $13,516.00


63. Total of all property on Schedule A/B.                                                                                                                                                   $763,516.00
                                                                     Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
                                                                                                          05/13/2019 02:30:15am
           Case 19-42266    Doc 15     Filed 05/13/19 Entered 05/13/19 02:40:18                   Main Document
Debtor 1    Mark Vogel                               Pg 9 of 38
Debtor 2    Nina Vogel                                                Case number (if known)   19-42266


12. Jewelry (details):

    wedding jewelry                                                                                            $1,400.00

    costume jewelry and some gold pieces                                                                         $550.00




Official Form 106A/B                         Schedule A/B: Property                                                 page 9
                                                                                                                                   05/13/2019 02:30:16am
          Case 19-42266              Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                               Main Document
                                                                 Pg 10 of 38
 Fill in this information to identify your case:
 Debtor 1            Mark                                        Vogel
                     First Name           Middle Name            Last Name
 Debtor 2            Nina                                        Vogel
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI
                                                                                                                    Check if this is an
 Case number         19-42266                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $750,000.00                   $0.00            Mo. Rev. Stat. § 513.475
9743 Mansfield Residence                                                         100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $3,300.00                 $3,300.00          Mo. Rev. Stat. § 513.430.1(1)
miscellaneous household goods and                                                100% of fair market
furnishings                                                                       value, up to any
Line from Schedule A/B: 6                                                         applicable statutory
                                                                                  limit

Brief description:                                           $245.00                   $245.00           Mo. Rev. Stat. § 513.430.1(1)
miscellaneous dvds, cds, books, etc                                              100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       8
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
                                                                                                                          05/13/2019 02:30:16am
           Case 19-42266           Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                         Main Document
Debtor 1      Mark Vogel                                       Pg 11 of 38
Debtor 2      Nina Vogel                                                             Case number (if known)   19-42266

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $450.00                 $450.00           Mo. Rev. Stat. § 513.430.1(1)
clothing and apparal for family of 5                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,400.00               $1,400.00          Mo. Rev. Stat. § 513.430.1(2)
wedding jewelry                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $550.00                 $550.00           Mo. Rev. Stat. § 513.430.1(2)
costume jewelry and some gold pieces                                        100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                       $550.00                  $0.00            Mo. Rev. Stat. § 513.430.1(2)
costume jewelry and some gold pieces                                        100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                   $0.00            Mo. Rev. Stat. § 513.430.1(10)(f)
Roth IRA                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      Unknown                   $0.00            Mo. Rev. Stat. § 513.430.1(10)(f)
Carpenters Union Pension                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      Unknown                   $0.00            Mo. Rev. Stat. § 513.430.1(10)(f)
Teachers Pension                                                            100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      Unknown                   $0.00            Mo. Rev. Stat. § 513.430.1(10)(e)
Teachers Pension                                                            100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      $1,850.00               $1,850.00          Mo. Rev. Stat. § 513.430.1(4)
hand tools used in Marks carpentry and                                      100% of fair market
construction work                                                            value, up to any
Line from Schedule A/B: 40                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                                                                                                                                        05/13/2019 02:30:17am
            Case 19-42266               Doc 15       Filed 05/13/19 Entered 05/13/19 02:40:18                                     Main Document
                                                                  Pg 12 of 38
 Fill in this information to identify your case:
     Debtor 1              Mark                                        Vogel
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Nina                                        Vogel
     (Spouse, if filing)   First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF MISSOURI                                    A supplement showing postpetition
                                                                                                                chapter 13 income as of the following date:
     Case number           19-42266
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation             construction                                       teacher
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Self-Employed                                      Special School Dist.

      Occupation may include            Employer's address     9743 Mansfield Dr.                                 12110 Clayton Rd.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Saint Louis                  MO      63132         Saint Louis            MO      63131
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        30 years                                          2 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00              $5,235.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00              $5,235.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
                                                                                                                                                                          05/13/2019 02:30:17am
            Case 19-42266                         Doc 15               Filed 05/13/19 Entered 05/13/19 02:40:18                                                  Main Document
Debtor 1        Mark Vogel                                                          Pg 13 of 38
Debtor 2        Nina Vogel                                                                                                            Case number (if known)       19-42266
                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse
                                                                                                          4.
     Copy line 4 here ................................................................................................................... $0.00           $5,235.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $233.72
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $853.50
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                    $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                    $0.00
     5e. Insurance                                                                                              5e.                  $0.00                $1,259.58
     5f. Domestic support obligations                                                                           5f.                  $0.00                    $0.00
     5g. Union dues                                                                                             5g.                  $0.00                   $76.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                $2,422.80
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                $2,812.20
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $5,769.75                        $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.               $0.00                        $0.00
     8g. Pension or retirement income                                                                           8g.           $1,200.00                        $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $6,969.75                        $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $6,969.75           +       $2,812.20       =       $9,781.95
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $9,781.95
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                            page 2
                                                                                                          05/13/2019 02:30:17am
           Case 19-42266            Doc 15   Filed 05/13/19 Entered 05/13/19 02:40:18                Main Document
Debtor 1     Mark Vogel                                   Pg 14 of 38
Debtor 2     Nina Vogel                                                     Case number (if known)    19-42266

8a. Attached Statement (Debtor 1)

                                                  Vogel Construction

Gross Monthly Income:                                                                                            $14,100.00

Expense                                             Category                               Amount

material                                                                                $4,300.00
fuel                                                                                     $475.00
Misc. equip rental/repair                                                                $900.00
Sub Contracors                                                                          $1,250.00
Tax                                                                                     $1,000.00
insurance                                                                                $405.25
Total Monthly Expenses                                                                                            $8,330.25

Net Monthly Income:                                                                                               $5,769.75




Official Form 106I                                Schedule I: Your Income                                            page 3
                                                                                                                                      05/13/2019 02:30:18am
            Case 19-42266               Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                                 Main Document
                                                                    Pg 15 of 38
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Mark                                          Vogel                            An amended filing
                           First Name             Middle Name            Last Name
                                                                                                          A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Nina                                          Vogel
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF MISSOURI                                   MM / DD / YYYY
     Case number           19-42266
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                       Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                                                                       Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.
                                                                                  son                                 17                  No

      Do not state the dependents'
                                                                                                                                          Yes

      names.                                                                      son                                 25                  No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $4,900.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $175.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
                                                                                                                            05/13/2019 02:30:18am
            Case 19-42266            Doc 15        Filed 05/13/19 Entered 05/13/19 02:40:18                           Main Document
Debtor 1      Mark Vogel                                        Pg 16 of 38
Debtor 2      Nina Vogel                                                                    Case number (if known)     19-42266
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                     $345.00
     6b. Water, sewer, garbage collection                                                                  6b.                     $112.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                     $300.00
         cable services
     6d. Other. Specify:      cable/internet                                                               6d.                     $131.00
7.   Food and housekeeping supplies                                                                        7.                      $850.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                      $125.00
10. Personal care products and services                                                                    10.                     $160.00
11. Medical and dental expenses                                                                            11.                     $240.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                     $425.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                     $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                    $194.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                                    20a.

     20b.   Real estate taxes                                                                              20b.

     20c.   Property, homeowner's, or renter's insurance                                                   20c.

     20d.   Maintenance, repair, and upkeep expenses                                                       20d.

     20e.   Homeowner's association or condominium dues                                                    20e.



 Official Form 106J                                        Schedule J: Your Expenses                                                  page 2
                                                                                                                             05/13/2019 02:30:18am
           Case 19-42266              Doc 15       Filed 05/13/19 Entered 05/13/19 02:40:18                             Main Document
Debtor 1      Mark Vogel                                        Pg 17 of 38
Debtor 2      Nina Vogel                                                                       Case number (if known)    19-42266
21. Other. Specify: See continuation sheet                                                                   21.    +                $320.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $8,377.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $8,377.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $9,781.95
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –               $8,377.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                   $1,404.95

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                   page 3
                                                                                                                05/13/2019 02:30:18am
           Case 19-42266           Doc 15        Filed 05/13/19 Entered 05/13/19 02:40:18                  Main Document
Debtor 1     Mark Vogel                                       Pg 18 of 38
Debtor 2     Nina Vogel                                                           Case number (if known)    19-42266


9.   Clothing, laundry, and dry cleaning (details):
     Clothing                                                                                                          $100.00
     Laundry/Dry Cleaning                                                                                               $25.00

                                                                                        Total:                         $125.00


21. Other. Specify:
     Auto Maintenance                                                                                                  $140.00
     personal property tax                                                                                              $20.00
     animal care                                                                                                       $110.00
     school activities and expenses for kids                                                                            $50.00

                                                                                        Total:                         $320.00




 Official Form 106J                                   Schedule J: Your Expenses                                           page 4
                                                                                                                                                                              05/13/2019 02:30:19am
           Case 19-42266                        Doc 15              Filed 05/13/19 Entered 05/13/19 02:40:18                                                        Main Document
                                                                                 Pg 19 of 38
 Fill in this information to identify your case:
 Debtor 1                Mark                                                        Vogel
                         First Name                    Middle Name                   Last Name

 Debtor 2            Nina                                                            Vogel
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number             19-42266
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $750,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $13,516.00
     1b. Copy line 62, Total personal property, from Schedule A/B...........................................................................................................................................................


                                                                                                                                                                            $763,516.00
     1c. Copy line 63, Total of all property on Schedule A/B.....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $959,860.82
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $14,790.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $151,074.68
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                      $1,125,725.50




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $9,781.95
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $8,377.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
                                                                                                                                 05/13/2019 02:30:19am
           Case 19-42266              Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                            Main Document
Debtor 1      Mark Vogel                                          Pg 20 of 38
Debtor 2      Nina Vogel                                                                   Case number (if known)     19-42266


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $12,605.96


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $14,790.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                     $14,790.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                                                                                                                                  05/13/2019 02:30:20am
         Case 19-42266                   Doc 15      Filed 05/13/19 Entered 05/13/19 02:40:18                              Main Document
                                                                  Pg 21 of 38
 Fill in this information to identify your case:
 Debtor 1           Mark                                         Vogel
                    First Name              Middle Name          Last Name

 Debtor 2            Nina                                        Vogel
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number        19-42266
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

        No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


        No
        Yes. Fill in the details.

                                                    Debtor 1                                           Debtor 2

                                                  Sources of income          Gross income          Sources of income            Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.        (before deductions
                                                                             and exclusions                                     and exclusions

From January 1 of the current year until           Wages, commissions,              $28,750.00     Wages, commissions,                  $14,692.00
the date you filed for bankruptcy:                    bonuses, tips                                     bonuses, tips

                                                   Operating a business                            Operating a business

For the last calendar year:                        Wages, commissions,              $91,540.00     Wages, commissions,                  $58,950.00
                                                      bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY             Operating a business                            Operating a business

For the calendar year before that:                 Wages, commissions,              $82,154.00     Wages, commissions,                  $57,152.40
                                                      bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY             Operating a business                            Operating a business


Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
                                                                                                                                    05/13/2019 02:30:20am
           Case 19-42266                  Doc 15      Filed 05/13/19 Entered 05/13/19 02:40:18                               Main Document
Debtor 1         Mark Vogel                                        Pg 22 of 38
Debtor 2         Nina Vogel                                                                 Case number (if known)      19-42266
5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


          No
          Yes. Fill in the details.


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.


          No
          Yes. List all payments to an insider.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
                                                                                                                                    05/13/2019 02:30:20am
           Case 19-42266                 Doc 15          Filed 05/13/19 Entered 05/13/19 02:40:18                            Main Document
Debtor 1         Mark Vogel                                           Pg 23 of 38
Debtor 2         Nina Vogel                                                                 Case number (if known)      19-42266
8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.


          No
          Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 3
                                                                                                                                    05/13/2019 02:30:20am
            Case 19-42266                 Doc 15      Filed 05/13/19 Entered 05/13/19 02:40:18                              Main Document
Debtor 1       Mark Vogel                                          Pg 24 of 38
Debtor 2       Nina Vogel                                                                   Case number (if known)     19-42266

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Heagler Law Firm                                                                                                or transfer was      payment
Person Who Was Paid                                                                                             made

901 Boones Lick, Ste. 100                                                                                          04/05/2019            $690.00
Number      Street




Saint Charles                 MO       63301
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
                                                                                                                                05/13/2019 02:30:20am
           Case 19-42266               Doc 15      Filed 05/13/19 Entered 05/13/19 02:40:18                             Main Document
Debtor 1       Mark Vogel                                       Pg 25 of 38
Debtor 2       Nina Vogel                                                               Case number (if known)     19-42266

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
                                                                                                                                         05/13/2019 02:30:20am
           Case 19-42266                Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                                  Main Document
Debtor 1       Mark Vogel                                           Pg 26 of 38
Debtor 2       Nina Vogel                                                                      Case number (if known)         19-42266
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Vogel Properties, LLC                            General construction and contracting                Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
9743 Mansfield Drive                             Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed

                                                                                                     From                       To
Olivette                  MO      63132
City                      State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Vogel Construction Company                                                                           Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
9743 Mansfield Drive                             Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed

                                                                                                     From                       To
Olivette                  MO      63132
City                      State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
CHSATA LLC                                       construction and remodeling business                Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
                                                 Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed

                                                                                                     From    07/25/2014         To   present

City                      State   ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
                                                                                                                               05/13/2019 02:30:20am
           Case 19-42266                Doc 15       Filed 05/13/19 Entered 05/13/19 02:40:18                           Main Document
Debtor 1       Mark Vogel                                         Pg 27 of 38
Debtor 2       Nina Vogel                                                                Case number (if known)    19-42266
28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Mark Vogel                                          X /s/ Nina Vogel
    Mark Vogel, Debtor 1                                      Nina Vogel, Debtor 2

    Date      05/11/2019                                      Date     05/11/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   No
   Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   No
   Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
                                                                                                                                05/13/2019 02:30:22am
          Case 19-42266                Doc 15        Filed 05/13/19 Entered 05/13/19 02:40:18 Main Document
                                                                  Pg 28 of 38  Check as directed in lines 17 and 21:
 Fill in this information to identify your case:
                                                                                             According to the calculations required by this
 Debtor 1           Mark                                         Vogel
                    First Name              Middle Name          Last Name                   Statement:

 Debtor 2            Nina                                        Vogel                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name          Last Name                        under 11 U.S.C. § 1325(b)(3).

                                                                                               2. Disposable income is determined
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI                              under 11 U.S.C. § 1325(b)(3).

 Case number        19-42266                                                                 3. The commitment period is 3 years.
 (if known)
                                                                                             4. The commitment period is 5 years.

                                                                                                Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

         Not married. Fill out Column A, lines 2-11.

         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                           Column A         Column B
                                                                                           Debtor 1         Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00           $5,235.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1          Debtor 2
     Gross receipts (before all                 $15,048.46               $0.00
     deductions)
     Ordinary and necessary operating      –     $7,677.50   –           $0.00
     expenses                                                                    Copy
     Net monthly income from a business,         $7,370.96               $0.00 here         $7,370.96                 $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
                                                                                                                                                                               05/13/2019 02:30:22am
             Case 19-42266                            Doc 15                 Filed 05/13/19 Entered 05/13/19 02:40:18                                                  Main Document
Debtor 1          Mark Vogel                                                              Pg 29 of 38
Debtor 2          Nina Vogel                                                                                                           Case number (if known) 19-42266

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00                           $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –                $0.00
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                           $0.00 here                           $0.00             $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00             $0.00
8.    Unemployment compensation                                                                                                                    $0.00             $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                     
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00             $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                 $7,370.96      +      $5,235.00   =    $12,605.96
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                       $12,605.96
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:

            You are not married. Fill in 0 below.
            You are married and your spouse is filing with you. Fill in 0 below.
            You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here               –        $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $12,605.96




Official Form 122C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                     page 2
                                                                                                                                                                                               05/13/2019 02:30:22am
           Case 19-42266                        Doc 15                Filed 05/13/19 Entered 05/13/19 02:40:18                                                                     Main Document
Debtor 1      Mark Vogel                                                           Pg 30 of 38
Debtor 2      Nina Vogel                                                                                                         Case number (if known) 19-42266

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                       $12,605.96
                                        ...................................................................................................................................................................................
            Multiply line 15a by 12 (the number of months in a year).                                                                                                                               X         12

    15b.                                                                                                                                                        $151,271.52
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                      Missouri
    16b.    Fill in the number of people in your household.                                                  4

    16c.                                                                                                                                                             $85,651.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                               $12,605.96
                                                                                            ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                             $12,605.96

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                          $12,605.96
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                        X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                       $151,271.52

    20c.                                                                                                                                                 $85,651.00
            Copy the median family income for your state and size of household from line 16c. ..............................................................................................................

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.

          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.

 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Mark Vogel                                                                                        X    /s/ Nina Vogel
        Mark Vogel, Debtor 1                                                                                       Nina Vogel, Debtor 2

        Date 5/11/2019                                                                                             Date 5/11/2019
             MM / DD / YYYY                                                                                             MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                    page 3
                                                                                                                                                                              05/13/2019 02:30:22am
            Case 19-42266                      Doc 15              Filed 05/13/19 Entered 05/13/19 02:40:18                                                        Main Document
                                                                                Pg 31 of 38
 Fill in this information to identify your case:
 Debtor 1               Mark                                                        Vogel
                        First Name                    Middle Name                   Last Name

 Debtor 2            Nina                                                           Vogel
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number            19-42266
 (if known)
                                                                                                                                  Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                                        04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                               4
      be different from the number of people in your household.


 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                             $1,694.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                      $52.00
      7b. Number of people who are under 65                                         X                  4
                                                                                                              Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                            $208.00           here                          $208.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                    $114.00
      7e. Number of people who are 65 or older                                      X
                                                                                                              Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                              $0.00         here               +              $0.00
                                                                                                                                                                   Copy
                                                                                                                                              $208.00              here
      7g. Total. Add lines 7c and 7f................................................................................................................................                $208.00




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                  page 1
                                                                                                                                 05/13/2019 02:30:22am
           Case 19-42266               Doc 15      Filed 05/13/19 Entered 05/13/19 02:40:18                                Main Document
Debtor 1    Mark Vogel                                          Pg 32 of 38
Debtor 2    Nina Vogel                                                                      Case number (if known) 19-42266

 Local Standards            You must use the IRS Local Standards to answer the questions in lines 8-15.


 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

  Housing and utilities -- Insurance and operating expenses
  Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.   Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                      $667.00
      fill in the dollar amount listed for your county for insurance and operating expenses.

 9.   Housing and utilities -- Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed           $1,349.00
          for your county for mortgage or rent expenses.

      9b. Total average monthly payment for all mortgages and other debts secured by
          your home.

           To calculate the total average monthly payment, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Next divide by 60.

            Name of the creditor                                 Average monthly
                                                                 payment

           Laclede gas                                                  $8.97
           Loancare                                                $4,923.00

           MSD                                               +         $46.05
                                                                                                                 Repeat this
                                                                                   Copy                          amount on
           9b. Total average monthly payment                       $4,978.02       here          –    $4,978.02 line 33a.

      9c. Net mortgage or rent expense.
                                                                                                                     Copy
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or                      $0.00     here                $0.00
           rent expense). If this number is less than $0, enter $0.


 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain
      why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
          0. Go to line 14.
          1. Go to line 12.
          2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                        $424.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                      page 2
                                                                                                                                                      05/13/2019 02:30:22am
           Case 19-42266                   Doc 15            Filed 05/13/19 Entered 05/13/19 02:40:18                                         Main Document
Debtor 1      Mark Vogel                                                  Pg 33 of 38
Debtor 2      Nina Vogel                                                                                     Case number (if known) 19-42266

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:




                                                                                                                           $200.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you file for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                 –        $0.00 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ........................                $200.00 here                  $200.00

      Vehicle 2         Describe Vehicle 2:




                                                                                                                           $200.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                 –        $0.00 line 33c.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                  expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.                   ........................   $200.00 here                  $200.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                    $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                      $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.



Official Form 122C-2                                           Chapter 13 Calculation of Your Disposable Income                                                 page 3
                                                                                                                                                05/13/2019 02:30:22am
           Case 19-42266            Doc 15          Filed 05/13/19 Entered 05/13/19 02:40:18                                        Main Document
Debtor 1       Mark Vogel                                        Pg 34 of 38
Debtor 2       Nina Vogel                                                                Case number (if known) 19-42266

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                                  $253.72
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                 $929.50
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                        $0.00
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                        $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                    $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                      $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                         $32.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                           +               $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                             $4,608.22

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                       $1,259.58
      Disability insurance                                        $0.00
      Health savings account                           +          $0.00

      Total                                                  $1,259.58 Copy total here                                                                    $1,259.58
                                                                                              ...........................................................................
      Do you actually spend this total amount?

             No. How much do you actually spend?
             Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                   $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                               $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                             page 4
                                                                                                                                                                                         05/13/2019 02:30:22am
           Case 19-42266                        Doc 15                Filed 05/13/19 Entered 05/13/19 02:40:18                                                                Main Document
Debtor 1     Mark Vogel                                                            Pg 35 of 38
Debtor 2     Nina Vogel                                                                                                       Case number (if known) 19-42266

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                                                               $0.00
     $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                                                +               $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                                                                                 $1,259.58
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                      Average monthly
                                                                                                                                      payment
             Mortgages on your home
      33a.                                                                                                                                  $4,978.02
             Copy line 9b here............................................................................................................................................................................................
             Loans on your first two vehicles
      33b.                                                                                                                                        $0.00
             Copy line 13b here............................................................................................................................................................................................
      33c.                                                                                                                                        $0.00
             Copy line 13e here............................................................................................................................................................................................
      33d.   List other secured debts:
      Name of each creditor for                                   Identify property that                       Does payment
      other secured debt                                          secures the debt                             include taxes or
                                                                                                               insurance?

      Baytech corp                                                9743 Mansfield Residence                                   No                     $76.48
                                                                                                                             Yes

                                                                                                                             No
                                                                                                                             Yes

                                                                                                                             No
                                                                                                                                       +
                                                                                                                             Yes
                                                                                                                                                                       Copy total
      33e.                                                                                                      $5,054.50
             Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                       $5,054.50




Official Form 122C-2                                                     Chapter 13 Calculation of Your Disposable Income                                                                                   page 5
                                                                                                                                                                05/13/2019 02:30:22am
           Case 19-42266                    Doc 15             Filed 05/13/19 Entered 05/13/19 02:40:18                                                  Main Document
Debtor 1      Mark Vogel                                                    Pg 36 of 38
Debtor 2      Nina Vogel                                                                                        Case number (if known) 19-42266

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                      Total cure                            Monthly cure
                                         secures the debt                            amount                                amount

 Loancare                                9743 Mansfield Residence                       $92,027.00          ÷ 60 =               $1,533.78

                                                                                                            ÷ 60 =

                                                                                                            ÷ 60 =     +
                                                                                                                                                   Copy total
                                                                                                             Total               $1,533.78         here             $1,533.78

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.

           No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                             $12,266.90
                    Total amount of all past-due priority claims...................................................................................... ÷ 60 =          $204.45

 36. Projected monthly Chapter 13 plan payment                                                                                   $1,400.00
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                             X           5.7 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                                   Copy total
      Average monthly administrative expense                                                                                        $79.80         here                $79.80

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                       $6,872.53

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $4,608.22
      Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

      Copy line 32, All of the additional expense deductions...............................................................$1,259.58

      Copy line 37, All of the deductions for debt payment.....................................................        +         $6,872.53
                                                                                                                                                   Copy total
      Total deductions                                                                                                       $12,740.33            here            $12,740.33



 Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
                                                                                                                                            $12,605.96
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................




Official Form 122C-2                                             Chapter 13 Calculation of Your Disposable Income                                                         page 6
                                                                                                                                                                                    05/13/2019 02:30:22am
             Case 19-42266                          Doc 15               Filed 05/13/19 Entered 05/13/19 02:40:18                                                               Main Document
Debtor 1          Mark Vogel                                                          Pg 37 of 38
Debtor 2          Nina Vogel                                                                                                    Case number (if known) 19-42266

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                                 $0.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                            $12,740.33
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense




                                                                                            +
                                                                                                                         Copy
                                                                                                                       +
                                                                                 Total                      $0.00 here                                  $0.00

                                                                                                                                                    Copy
                                                                                                                $12,740.33 here  – $12,740.33
 44. Total adjustments. Add lines 40 through 43..............................................................................................................................


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                         ($134.37)

 Part 3:            Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form                Line        Reason for change                                                                Date of change                       Increase or       Amount of change
                                                                                                                                                                decrease?

               122C-1                                                                                                                                               Increase
               122C-2                                                                                                                                               Decrease

               122C-1                                                                                                                                               Increase
               122C-2                                                                                                                                               Decrease

               122C-1                                                                                                                                               Increase
               122C-2                                                                                                                                               Decrease

               122C-1                                                                                                                                               Increase
               122C-2                                                                                                                                               Decrease




Official Form 122C-2                                                        Chapter 13 Calculation of Your Disposable Income                                                                  page 7
                                                                                                                                05/13/2019 02:30:22am
           Case 19-42266            Doc 15         Filed 05/13/19 Entered 05/13/19 02:40:18                              Main Document
Debtor 1      Mark Vogel                                        Pg 38 of 38
Debtor 2      Nina Vogel                                                                 Case number (if known) 19-42266

 Part 4:       Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X    /s/ Mark Vogel                                                      X   /s/ Nina Vogel
           Mark Vogel, Debtor 1                                                    Nina Vogel, Debtor 2

           Date 5/11/2019                                                          Date 5/11/2019
                MM / DD / YYYY                                                          MM / DD / YYYY




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                        page 8
